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 Fill in this information to identify the case:
 Debtor name Tenrgys, LLC, et al.
 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF                                                                                     Check if this is an
                                                MISSISSIPPI
 Case number (if known):         21-1515-JAW                                                                                                          amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Beacon Supply Co.,                                             Trade Debt                                                                                                      $93.94
 Inc.
 P.O. Box 968
 Columbia, MS 39429
 Cintas Corporation                                              Trade Debt                                                                                                   $206.73
 No. 2
 240 W Mitchell Ave
 Jackson, MS 39213
 Cintas Corporation                                              Trade Debt                                                                                                     $91.95
 No. 210
 P.O. Box 630921
 Cincinnati, OH
 45263
 Denbury Onshore,                                                Trade Debt                                                                                             $127,995.22
 LLC
 P.O. Box 972621
 Dallas, TX
 75397-2621
 East Mississippi                                                Trade Debt                                                                                                   $236.39
 Electric Power
 Associat
 P.O. Box 5517
 Meridian, MS 39302
 Fairleys Heat And                                               Trade Debt                                                                                                 $3,753.35
 Air
 61 RD Hartfield Rd
 Purvis, MS 39475
 FC&E Engineering,                                               Trade Debt                                                                                                   $536.00
 LLC
 P.O. Box 1774
 Brandon, MS 39043
 FS Energy & Power                                               Term Loan                                                                                          $75,000,000.00
 600 New Hampshire
 Ave NW
 Suite 1200
 Washington, DC
 20037


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 Debtor    Tenrgys, LLC                                                                                       Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Hilbun Electric                                                 Trade Debt                                                                                                   $723.14
 Contractors, Inc
 P.O. Box 582
 Ellisville, MS 39437
 Hughes Network                                                  Trade Debt                                                                                                     $63.23
 Systems LLC
 P.O. Box 96874
 Chicago, IL
 60693-6874
 J Parker Services                                               Trade Debt                                                                                                 $5,300.00
 LLC
 P.O. Box 166
 Laurel, MS 39441
 Miller Enterprises,                                             Trade Debt                                                                                                   $632.50
 LLC
 136 Wilson Road
 Hattiesburg, MS
 39402
 Mississippi Power                                               Trade Debt                                                                                               $15,000.00
 2401 11th St
 Meridian, MS 39301
 Pearl River Valley                                              Trade Debt                                                                                                   $469.29
 EPA
 P.O. Box 1217
 Columbia, MS
 39429-1217
 Puckett Rents                                                   Trade Debt                                                                                                 $4,431.41
 P.O. Box 321033
 Flowood, MS 39232
 Simpson                                                         Trade Debt                                                                                               $30,719.00
 Resources, LLC
 P.O. Box 9123
 Miramar Beach, FL
 32550
 Southern Pine                                                   Trade Debt                                                                                                   $100.00
 Electric Power Assn
 P.O. Box 60
 Taylorsville, MS
 39168
 SPL Inc                                                         Trade Debt                                                                                                   $983.00
 8850 Interchange
 Houston, TX 77054
 The Magna Carta                                                 Trade Debt                                                                                               $30,719.00
 Group, LLC
 P.O. Box 9123
 Miramar Beach, FL
 32550
 Waste Management                                                Trade Debt                                                                                                   $115.00
 Of Mississippi, Inc
 1001 Fannin Street
 Houston, TX 77002



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